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UNITED STATES OF AMERICA
Plaintiff,

Vs.

KRISTEN LAUREN KHYZOMA aka
KRISTEN OBYAW,

Defendant.

Stephanie Grimaldi, Esq. (SBN: 327311)

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UNITED STATES DISTRICT. COURT
SOUTHERN DISTRICT OF CALIFORNIA
HONORABLE ANTHONY J. BATTAGLIA

Docket No.: 3:21CR03198-002-AJB

DEFENDANT KRISTEN KHYZOMA’S
SENTENCING MEMORANDUM

DATE: March 28, 2022
Time: 9:00 a.m.

I.

INTRODUCTION

Ms. Kristen Khyzoma, a.k.a. Kristen Obyaw (hereinafter “Ms. Khyzoma”), is a nineteen
(19) year old recent high school graduate who lives with her mother and younger sister in the
San Francisco Bay area. She graduated from John O’Connell Technical High School in Sani
Francisco in 2012, where she originally met co-defendant Samantha Condes (hereinafter “Ms.

Condes”). Ms. Khyzoma and Ms. Condes have been friends since high school.

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As further described below, On October 22, 2021, Ms. Khyzoma and Ms. Condes were
stopped by United States Border Patrol agents for transportation of certain aliens and aiding and
abetting in violation of Title 8 U.S.C. §§$1324(a)(1)(A)(ii) and (v)(II). Ms. Khyzoma has
expressed sincere remorse for committing this offense and has accepted full responsibility for her
actions. She understands the gravity of her actions and has accepted the consequences of her
behavior and the impact this conviction will have on her future.

Il. PROCEDURAL HISTORY

On or about November 18, 2021, a single-count information was filed in the United
States District Court, Southern District, charging Ms. Condes and Ms. Khyzoma_ with
transportation of certain aliens and aiding and abetting, in violation of Title 8 U.S.C.
§§1324(a)(1)(A)(i) and (v)(D.

On January 4, 2022, Ms. Condes pled guilty to the charge. The Honorable Michael S.
Berg ordered a Pre-Sentence Investigation Report (“PSR”) be prepared by the Probation
Department. Ms. Khyzoma has reviewed the PSR with counsel and now comes before the
Honorable Judge Battaglia for sentencing.

TI. SUMMARY SENTENCING RECOMMENDATION

Based upon the criteria enumerated under 18 U.S.C. § 3553(a) and an adjust for
mitigating role under USSG § 3B1.2, subd. (b), Ms. Khyzoma respectfully requests the Court

impose a sentence of time served.

IV. DEFENDANT’S REQUEST FOR A SENTENCE OF NO MORE THAN TIME
SERVED WILL RESULT IN SUFFICIENT, BUT NOT GREATER THAN NECESSARY,
SENTENCING AS SET FORTH UNDER U.S.C. § 3553(a)

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The Sentencing Guidelines are no longer mandatory. See United States v. Booker, 543
U.S. 220, 260-61 (2005). In Booker, the Supreme Court held that the mandatory Sentencing!
Guidelines System violated the Sixth Amendment. /d. at 226-227. In the Booker remedial
opinion, the Supreme Court determined that the constitutional violation would be cured by
| modifying the federal sentencing statue to make the Guidelines effectively advisory. Jd. at 245.

Under 18 U.S.C. § 3582(a), the Court is directed to consider certain factors to determine
the appropriate punishment, “recognizing that imprisonment is not an appropriate means of
promoted correction and rehabilitation. Jd. 18 U.S.C. § 3553(a) requires Courts to “impose al
sentence sufficient, but not greater than necessary,” to comply with the purposes set forth in §
3553(a)(2). These purposes are:

(A) To reflect the seriousness of the offense, to promote respect for the law, and to

provide just punishment for the offense;

(B) To afford adequate deterrence to criminal conduct:

(C) To protect the public from further crimes of the defendant; and

(D)To provide the defendant with needed education or vocational training, medical care,

or other correctional treatment in the most effective manner.

Section 3553(a) further directs sentencing courts to consider, among other things: (1) the
nature and circumstances of the offense and the history and characteristics of the defendant; (3)
the kinds of sentences available; and (6) the need to avoid unwanted sentencing disparities
among defendants with similar records who have been found guilty of similar conduct.

Moreover, 18 U.S.C. § 3661 states that “no limitation shall be placed on the information|
concerning the background, character, and conduct of a person convicted of an offense which al

court of the United States may receive and consider for the purpose of imposing an appropriate

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sentence.” As such, it is clear that the Congressional intent is for the least possible sentence and
for appropriate alternatives to incarceration.
V. ANALYSS OF THE U.S.C. §3553(a) FACTORS
U.S.C. § 3553(a) contains seven factors that must be weighed to determine that a
sentence that is sufficient, but not greater than necessary, to achieve the sentencing goals outline
in that statue.

_A. Nature and Circumstances of the Offense: History and Characteristics of the

Defendant.
|. The Nature and Circumstances of the Offense
The first § 3553(a) factor requires the sentencing Court to consider the nature and
circumstances of the offense. On or about October 22, 2021, United States Border Patrol
(“USBP”) observed Ms. Condes, the driver of the vehicle, and Ms. Khyzoma, the passenger, in a
Hyundai Santa Fe Sports Utility Vehicle (SUV) stopped at the entrance of Skydive, San Diego
(PSR 4, 94). While the vehicle was stopped at Skydive, multiple individuals got into the vehicle.
Id. \t was later determined that these individuals were illegally present in the United States (PSR
5, | 6-8).
During an interview with U.S. Probation Officer Stephen P. Black, Ms. Khyzoma
expressed remorse for her actions, stating she wished she never committed the subject offense,
and adding that she has never been in this type of trouble before. (PSR 6. § 17). Ms. Khyzomal
referred to her actions in the subject matter as the “biggest mistake” she has ever made. /d. Prior
to this incident, Ms. Khyzoma had plans to attend college and pursue her dreams of becoming a
filmmaker or nurse. She understands the consequences of her actions and the impact this

conviction will have on her future.

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2. History and Characteristics of Defendant Khyzoma_

Ms. Khyzoma was born on November 13. 2002 in San Francisco, California. She is
currently nineteen (19) years old. Ms. Khyzoma’s father, Clift Obyaw (51), is a banker and/or
financial advisor who lives in San Francisco and her mother, Cynthia Oneto (52), is a social
worker for the County of San Francisco.

Growing up, Ms. Khyzoma’s parents argued and disagreed frequently. They divorced
when she was in 2™ grade. From that time to the age of thirteen (13), Ms. Khyzoma’s parents
shared custody and she lived intermittingly between their respective residences. Ms. Khyzomal
stopped living with her father at the age of thirteen (13), as she felt neglected when she was with
him. Since then, Ms. Khyzoma has not seen her father save for occasional contact on her
birthdays. Ms. Khyzoma believes that her father sporadically provided child support. Now, Ms|
Khyzoma lives with her mother and younger sister Alex (11).

Throughout school, Ms. Khyzoma considered herself to be a shy and quiet person. In her
spare time, she enjoyed creative writing and would describe herself as an indoor person. From
approximately 7" grade through 10" grade, Ms. Khyzoma volunteered at a summer camp, Camp
EDMO, where she counseled and taught campers the STEM (science, technology, engineering,
and mathematic) academic principles (See “Exhibit A”). In 2018, she completed approximately
252 hours of community service at Camp EDMO. Jd. Ms. Khyzoma has continued her volunteer
work through Volunteer Opportunity USA Western Territory where she assisted with Christmas
Meal Deliveries in December 2016, 2019, and 2021 (See “Exhibit B”). Ms. Khyzoma is
passionate about volunteering, and even received The President’s Volunteer Service Award from

the Corporation for National and Community Service in 2018 (See “Exhibit C”).

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Ms. Khyzoma is also interested in filmmaking (See “Exhibit D”) and attended summer
camps related to this interest from 2" grade through 7" grade. Ms. Khyzoma also attended a six
to eight-week program at the Bay Area Video Coalition in San Francisco where she studied
filmmaking. Ms. Khyzoma graduated from John O’Connell Technical High School in San
Francisco in 2021 (See “Exhibit D”). Ms. Khyzoma was a hard-working student, and even
achieved a 3.83 GPA in 12" grade (See Exhibit E”). While in high school, she was actively
involved in cross-country and the Associated Student Body Government (ASB).

Ms. Khyzoma was diagnosed with Depressive Disorder with Melancholic Features in|
2016 by Dr. Danika L. Grundemann (See “Exhibit F”). She was originally prescribed the
antidepressant Lexapro, but discontinued the medication as it did not help her condition but made
her feel worse. She recently has engaged in virtual counseling and therapy sessions with Dr.
Howard Kaplan and finds these sessions beneficial to her mental health. Ms. Khyzoma is
currently engaged in weekly individual therapy.

Ms. Khyzoma is currently living with her mother who supports her as she saves money to
be able to afford her own residence and school. Although Ms. Khyzoma is currently
unemployed, she is diligently looking for work. She previously held employment as a babysitter,
a seasonal Halloween store employee, a bagger for a supermarket, and an employee of a local
pizzeria. She has interests in filmmaking and becoming a nurse and plans on continuing to
pursue employment opportunities.
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B. Minor Role Reduction

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a. Applicable Law

Section 3B1.2 of the United States Sentencing Guidelines provides that a defendant’s
offense level shall be decreased if the person’s role in the offense was minor. The guidelines
specifically require Courts to make individual, fact-based determination in each case (United
States Sentencing Guidelines §3B1.2). The Sentencing Commission specifically provided for a
four-level reduction for minimal participants at the lowest level of culpability, an intermediate
level of a three-point reduction for those whose role falls between minimal and minor, and then a
two-level for minor role reduction.

When determining whether an individual’s conduct in the underlying offense should be
viewed as minimal, the individual’s lack of knowledge and/or understanding of the scope and
structure of the enterprise should be considered. (U.S.S.G. §3B1.2 comment n.4). A two-level
reduction for minor role should be implemented when an individual is less culpable than most
other participants, but whose role could not be described as minimal. (Jd. at comment n.5).

b._ Background and Offense Conduct

Ms. Khyzoma and Ms. Condes have known each other for approximately four years,
having met in high school. As mentioned above, they regularly took short trips together, such as
travelling to New York, New York and Santa Cruz, California. The two girls planned a road trip
to Los Angeles, California. Ms. Khyzoma was just laid off from her job and just ended a
romantic relationship, so she was excited to take a trip to help lift her spirits. At some point, Ms.
Khyzoma saw an Instagram “Story” post by a skater influencer that she followed on the
Instagram application platform. The post was advertising a job looking for drivers to transport
workers. Both Ms. Khyzoma and Ms. Condes agreed to request more information regarding the

job advertisement.

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While Ms. Condes was driving toward Los Angeles, Ms. Khyzoma private messaged the’
Instagram poster who advertised for drivers. The individual explained the job involved picking
up workers who work for him and his brother. The two girls understood they would be paid
$1,000 total to pick up the workers in San Diego, California and drop them off in Orange
County, California. The girls agreed they could use the money for their trip, such as getting a
hotel room versus sleeping in the car, which they had done on previous road trips.

Ms. Khyzoma was told by the Instagram poster to speak to the individual’s boss and was
provided with his Instagram contact information. The boss provided her with coordinates
corresponding to the location where they were to pick up the workers in Chula Vista, California.
The boss continuously checked in regarding the girls’ location and asked how far they were from
the pickup spot. The boss asked them to share their location so he would know where they were
throughout the trip. At one point, the boss asked the girls to “drive faster” as the workers were
“waiting.”

Once the girls reached the location provided by the boss, five men jumped into the
vehicle Ms. Condes was driving. Ms. Khyzoma and Ms. Condes were scared and did not know
what to do. They were afraid to say anything that could compromise their safety. Ms. Khyzoma
did realize that these men were likely undocumented individuals. The boss instructed the girls to
drive to Orange County where he would then provide them the address of where to drop off the
workers.

c. Legal Argument

Ms. Khyzoma is deserving of a two-point reduction for “minor role” as she did not
understand the scope and structure of the subject offense. She did not plan or organize this crime

and she did not exercise decision-making authority. Rather, she followed the instructions from]

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the Instagram poster and that individual’s “boss.” Ms. Khyzoma had no knowledge of what
organization the Instagram individual or the boss worked for, nor did she have any specific
information regarding how the Instagram individual or boss found potential “drivers.” Ms.
Khyzoma does not know anyone else who was working for the Instagram individual or his boss.

As such, it is clear that Ms. Khyzoma is substantially less culpable than the average
participant involved in this case. Known individuals such as the Instagram individual and his|
boss were average participants and substantially more culpable than Ms. Khyzoma. Ms.
Khyzoma is the exact type of offender the Commission had in mind when structuring the
adjustments based on § 3B1.2.

C. Reflect the Seriousness of the Offense: Promote Respect for the Law: Provide Just

Punishment for the Offense.

As noted above, Ms. Khyzoma deeply regrets her involvement in this crime and
understands the gravity of her actions. Ms. Khyzoma committed a crime and should be punished
accordingly, with a sentence that promotes respect for the law and provides just punishment.
“Respect for the law is promoted by punishments that are fair, however, not those that simply
punished for punishment’s sake.” United States v. Stern, (2008) 590 F. Supp.2d 945, 956-57. “Al
sentence of imprisonment may work to promote not respect, but derision, of the law if the law is
viewed as merely a means to dispense harsh punishment without taking into account the real
conduct and circumstances involved in sentencing.” (Jd. quoting Gall, 128 S. Ct. at 599).

A defendant who deserves leniency, but is sentenced harshly does nothing to promote
respect for the law. The same is true for a defendant who deserves a harsh punishment but

receives a simple slap. on the wrist. This sentence must be balanced, taking into consideration all

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1 || will not create disparity between Ms. Khyzoma and similarly situated defendants as it will

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promote respect for the law while also not resulting in a greater punishment than is necessary.

D. Afford Adequate Deterrence to Criminal Conduct

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There is no justification for this crime. Deterrence and prohibition are essential objectives

~ || for society. However, in accordance with the directive set out in §3553(a), the sentence imposed

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upon Ms. Khyzoma must be sufficient, but not greater than necessary, to meet the overall
"|| purposes of sentencing. Based on Ms. Khyzoma’s age, lack of criminal history, and complete
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remorse she feels in regards to her actions, a sentence of time served would adequately deter her
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from committing future crimes.

E. Need to Protect the Public (Low Risk of Recidivism)

Ms. Khyzoma’s remorse and cooperation with investigators bodes well for rehabilitation.
and her lack of criminal history and young age indicates that she does not pose a significant
threat or reoffending or otherwise endangering the public. Further, Ms. Khyzoma’s support from
her mother indicates that she is not likely to harm the public by committing a future crime. With
zero criminal history points, Ms. Khyzoma poses the lowest possible risk of recidivism. Indeed,
as an offended without a single criminal history point, Ms. Khyzoma presents only a little more
than a 10% risk of recidivism the first 24 months after release. By contrast, other offenders in the
same criminal history category with on criminal history point have a recidivism rate twice that of
Ms. Khyzoma. See United States Sentencing Commission, Measuring Recidivism: The Criminal
History Computation of the Federal Sentencing Guidelines, at 7 (2004).

VI. CONCLUSION
2% For the foregoing reasons, Defendant Kristen Khyzoma respectfully requests this Court

>4 || impose a sentence of no greater than time served.

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Respectfully Submitted,

Stephanie Grimaldi, Esq.

ATTORNEY FOR DEFENDANT,
KRISTEN KHYZOMA

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EXHIBIT A

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: EXHIBIT B

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VOLUNTEER OPPORTUNIT!
USA Western Territory

Home | My Account | Sign Out

Home > My Account

Hello, Kristen OByaw !

This is a reminder that your next shift is scheduled
for 12/25/2021 8:30 AM. Click here for details.

a Your Volunteer Opportunities

You have registered for 3 different opportunities over
the past 5 years. Click here to view this list, manage
your registrations, and manage your shift
assignments.

sax Your Volunteer Coordinator

Your volunteer coordinator is:

Lt Christopher Wikle
(615) 495-9083
christopher.wikle@usw.salvationarmy.org

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Home | MyAccount | Sign Out

Home > My Account

Hello, Kristen OByaw !

a Your Volunteer Opportunities

You have registered for 3 different opportunities over
the past 6 years. Click here to view this list, manage
your registrations, and manage your shift
assignments.

tax Your Volunteer Coordinator

Your volunteer coordinator is:

Lt Christopher Wikle
(615) 495-9083
christopher.wikle@usw.salvationarmy.org

@® Explore Opportunities

We found some other opportunities close to you that
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VOLUNTEER OPPORTUNITI
USA Western Territory

Home | MyAccount | Sign Out

Home > My Account > Volunteer Hours

Volunteer Hours

View Printable Report

Date

12/25/2021

12/25/2019

11/24/2016

Opportunity

URGENT - Christmas Meal
Deliveries 2021 - SF

2019 Christmas Meal
Delivery Drivers

2016 Thanksgiving Meal
Delivery Drivers!

Total Approved Hours: 8.00

Description
of Work

8:30am
Drivers (40
Meal routes)

Christmas
Meal
Deliveries -
Sam

Thanksgivinc¢
Meal
Delivery
Driver 2016

* All volunteer time must be reviewed and approved by the volunteer
conrdinator If vai havea tima antry thatiwac daniad nleaca contact _

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You selected the following volunteer
assignments:

Date Assignment Location
12/25/2021 | 8:30am (40 Meal routes) | The Salvation
8:30 AM-  |- DRIVERS: Army South of
12:30 PM (NOTE: Drivers - please | Market Corps

only reserve ONE SPOT
PER VEHICLE. Thank

you!)

~ 40 meals per route -
less stops but more
meals;

- All routes in San
Francisco;

- Must have own vehicle;
- Must have at least one
accompanying passenger;
- Only drivers must pre-
register.

- Routes will be pre-
assigned and emailed
before Christmas.

(You reserved 1 spot)

360 4th Street
San Francisco
CA. 94107

(You can change these assignments in the "My Account" area of our

website.)

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EXHIBIT C

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sand eae for the benefit of others. Each generation of

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3/22/16
To Whom It ey Concem,

Kristen Lauren Obyaw i is under my care oa lam currently eating tern
a mental health disability recognized in the DSM V. | have Se perwalh
Depressive Disorder with Melancholic Features;F32.9. Her

disorder substantially limits at least one major life activity.

As the primary treatment to address hae psychological disabilty 1 hohe
recommend that Kristen obtain a dog or a cat to serve as an emotional support
animal. It is my professional opinion that the presence ofthis animalisa
necessary treatment for the mental health of Kristen because its presence wil
help to mitigate the symptoms she is currently experiencing. ce

Kristen meets the definition of disability under the Americans \
the Fair Housing Act, and the Rehabilitation Act of 1973. Due to
Kristen has certain limitations regarding social interaction and
with feelings of extreme sadness. in order to help alleviate th
to enhance her ability to live independently ar
dwelling unit you own and/or administer, | ar

Sincerely,
Danika L. Grundemann

arias and Family re
Under the Su
CA license #40079

The Clinic Without Walls, TCWOW
390 Valencia St. SF, CA 944 03
415-373-4094, ext 803
